                 Case 23-30398 Document 90 Filed in TXSB on 03/06/24 Page 1 of 3
                                                                                              United States Bankruptcy Court
                                    UNITED STATES BANKRUPTCY COURT                                Southern District of Texas
                                      SOUTHERN DISTRICT OF TEXAS                                     ENTERED
                                                                                                    March 04, 2024
In      Courtney Nichole Hernandez                                                                Nathan Ochsner, Clerk
Re:     Debtor                                         Case No.: 23−30398
                                                       Chapter: 13




                                  ORDER RESETTING MOTION TO DISMISS

      1. The chapter 13 trustee's motion to dismiss is continued until 4/11/24 at 09:30 AM.


      Signed and Entered on Docket: 3/4/24.
                       Case 23-30398 Document 90 Filed in TXSB on 03/06/24 Page 2 of 3
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 23-30398-jpn
Courtney Nichole Hernandez                                                                                             Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 04, 2024                                               Form ID: redsmdj                                                           Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 06, 2024:
Recip ID                 Recipient Name and Address
db                     + Courtney Nichole Hernandez, 10600 S. Gessner #49, Houston, TX 77071-1045
cr                     + John E Kostik, 10600 S Gessner Dr. #28, Houston, TX 77071-1041
intp                   + John Trust, 1000 Ocean Blvd, #5G, Pompano Beach, FL 33062-6611

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/Text: BKMailings@NBSDefaultServices.com
                                                                                        Mar 04 2024 20:11:00      Global Lending Services LLC, 14841 Dallas
                                                                                                                  Parkway Suite 425, Dallas, TX 75254-8067
cr                        Email/Text: houston_bankruptcy@LGBS.com
                                                                                        Mar 04 2024 20:11:00      Harris County, Linebarger Goggan Blair &
                                                                                                                  Sampson LLP, c/o John P. Dillman, PO Box 3064,
                                                                                                                  Houston, TX 77253-3064

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 06, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 4, 2024 at the address(es) listed
below:
Name                               Email Address
Chandra Dianne Pryor
                                   on behalf of Creditor Global Lending Services LLC Chandra.Pryor@BonialPC.com Notices.Bonial@ecf.courtdrive.com
                   Case 23-30398 Document 90 Filed in TXSB on 03/06/24 Page 3 of 3
District/off: 0541-4                                      User: admin                                                      Page 2 of 2
Date Rcvd: Mar 04, 2024                                   Form ID: redsmdj                                                Total Noticed: 5
John P Dillman
                          on behalf of Creditor Harris County houston_bankruptcy@lgbs.com

Min Gyu Kim
                          on behalf of Debtor Courtney Nichole Hernandez kimlylawbankruptcy@gmail.com kimlylawbankruptcy@gmail.com

Tiffany D Castro
                          ecf@ch13hou.com

US Trustee
                          USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 5
